           Case: 4:22-cv-00844-SEP Doc. #: 12 Filed: 08/16/22 Page: 1 of 1 PageID #: 255
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Eastern District
                                             __________  DistrictofofMissouri
                                                                      __________


         Midwest Hemorrhoid Treatment Center                   )
                             Plaintiff                         )
                                v.                             )      Case No.     4:22-cv-00844
             Medical Disposables Corp., et al.                 )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff, Midwest Hemorrhoid Treatment Center Town & Country, LLC                                           .


Date:          08/16/2022                                                                 /s/ Ryan M. Kelly
                                                                                         Attorney’s signature


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